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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION


 CRYSTAL PERRY,

             Plaintiff,                                Case No. 1:23−cv−00202−RJJ−PJG

      v.                                               Hon. Robert J. Jonker

 MICHIGAN STATE UNIVERSITY,

             Defendant.
                                           /

                     ORDER REGARDING SETTLEMENT CONFERENCE

        The parties will appear before me for a settlement conference on December 12, 2023
 at 09:30 AM. The conference shall take place at 499 Federal Building, Grand Rapids, MI.

        Persons Required to Attend. Unless excused by a showing of good cause, the
 attorney who is to conduct the trial shall attend the settlement conference, accompanied by
 a representative of the party with full settlement authority. The person with settlement
 authority must come with authority to accept, without further contact with another person,
 the settlement demand of the opposing party. In addition, where a party is insured, a
 representative of the insurer who is authorized to negotiate and to settle the matter (within
 policy limits) up to the amount of the opposing parties' existing settlement demand shall
 also attend. All parties shall be present in person unless specifically excused by written
 motion and order (or otherwise directed) by the Court. W.D. Mich. LCivR 16.6.

        Settlement Letter to Opposing Party. A settlement conference is more likely to be
 productive if, before the conference, the parties have had a written exchange of their
 settlement proposals. Accordingly, at least fourteen (14) days prior to the settlement
 conference, plaintiff's counsel shall submit a written itemization of damages and settlement
 demand to defendant's counsel with a brief explanation of why such a settlement is
 appropriate. No later than seven (7) days prior to the settlement conference, defendant's
 counsel shall submit a written offer to plaintiff's counsel with a brief explanation of why such
 a settlement is appropriate. This may lead directly to a settlement. If settlement is not
 achieved, plaintiff's counsel shall deliver or e−mail copies of these letters to the chambers
 of Judge Phillip J. Green no later than three (3) business days before the conference.
 Letters should be mailed, hand delivered, or e−mailed to
 greenmediation@miwd.uscourts.gov. Do not file these letters in the case.

         Confidential Settlement Letter to Court. In addition, three (3) business days
 before the conference, each party or their attorney shall submit to the chambers of
 Judge Phillip J. Green a confidential letter concerning settlement. Letters should be
 mailed, hand delivered, or e−mailed to greenmediation@miwd.uscourts.gov. A copy of
 this letter need not be provided to any other party. Do not file this letter in the case. All
 information in the settlement letter shall remain confidential and will not be disclosed to any
 other party without the approval of the writer. The confidential settlement letter shall set
 forth: (a) the name and title of the party representative who will be present at the
 settlement conference, with counsel's certification that the representative will have full
 authority to settle, without the need to consult with any other party; (b) a very brief
 explanation of the nature of the case, including an identification of any parties added or
 dismissed since the time of filing; (c) a history of settlement negotiations to date, including
 all offers, demands and responses (the letter should not, however, divulge any offer made
 in the context of a voluntary facilitative mediation); (d) the policy limits of any relevant
 insurance coverage; (e) the limits on settlement authority given to counsel by the client;
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 (f) that party's suggestions concerning the most productive approach to settlement; (g) any
 other matter that counsel believes will improve the chances for settlement. Plaintiff shall
 also provide an estimated range of damages recoverable at trial and a brief analysis
 of the method(s) used for arriving at the estimate(s).

       IT IS SO ORDERED.


 Dated: July 13, 2023                                      /s/ Phillip J. Green
                                                          PHILLIP J. GREEN
                                                          U.S. Magistrate Judge
